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 10
 11                                      UNITED STATES DISTRICT COURT
 12                                  CENTRAL DISTRICT OF CALIFORNIA
 13
 14 JEFFERY R. WERNER, an individual,                   Case No. 2:17-cv-06191-FMO-JPR
                                                        [Assigned to Hon. Fernando M.
 15                                      Plaintiff,     Olguin]
 16            vs.                                      DEFENDANTS’ NOTICE OF
                                                        MOTION AND MOTION TO
 17 PENSKE MEDIA CORPORATION, a                         DISMISS COMPLAINT
    Delaware Corporation,
 18 HOLLYWOODLIFE.COM, LLC,            Date:                     December 14, 2017
    individually and doing business as Time:                     10:00 a.m.
 19 “HOLLYBABY.COM”; and DOES 1-10, Ctrm:                        6D
 20                                      Defendants.
                                                        Action Filed: August 21, 2017
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      DEFENDANTS’ MOTION TO DISMISS
      4835-7914-4020v.1 0109845-000002
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  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2            PLEASE TAKE NOTICE that on December 14, 2017 at 10:00 a.m., in
  3 Courtroom 6d of the United States District Court for the Central District of
  4 California, located at 350 West First Street, Los Angeles, CA 90012, Defendants
  5 Penske Media Corporation (“Penske”) and Hollywoodlife.com, LLC
  6 (“Hollywoodlife”) (collectively, “Defendants”) will and hereby do move to dismiss
  7 Penske as a defendant from this action and to dismiss, in its entirety, the second
  8 claim for vicarious and/or contributory copyright infringement, and, in its entirety,
  9 the third claim for violations of the Digital Millennium Copyright Act from the
 10 Complaint filed by Plaintiff Jeffery R. Werner (“Plaintiff”).
 11            Plaintiff claims that he took a photograph of a young girl in Thailand with a
 12 rare condition known as Ambras syndrome (the “Photo”), which Plaintiff claims
 13 Defendants posted on “their” websites, hollywoodlife.com and hollybaby.com. For
 14 this, he brought three claims against both Defendants for (1) copyright
 15 infringement, (2) vicarious and/or contributory copyright infringement, and (3)
 16 violation of the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. §
 17 1202(b).
 18            This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6)
 19 because:
 20            (1) Penske is not a proper defendant in this action as the Photo was allegedly
 21 used on websites that are controlled by Defendant Hollywoodlife – not Defendant
 22 Penske. Plaintiff cannot hold Penske responsible for any infringements merely
 23 because it is Hollywoodlife’s parent corporation;
 24            (2) As to the claim for vicarious and/or contributory copyright infringement,
 25 Plaintiff has failed to make factual allegations that there was any infringement by a
 26 third party or how Defendants allegedly caused, induced, or materially contributed
 27 to or directly financially benefitted from that third party infringement; and
 28
                                                                          DAVIS WRIGHT TREMAINE LLP
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  1            (3) For the DMCA claim, Plaintiff has failed to plead and prove that
  2 Defendants “intentionally” removed and/or altered copyright management
  3 information from the photo at issue or distributed the photo while “‘knowing’
  4 copyright information has been improperly removed or altered and ‘knowing’ it
  5 will ‘induce, enable, facilitation or conceal an infringement.’” 17 U.S.C. § 1202(b).
  6 See Memorandum, Section III.
  7            This motion is made following the conference of counsel pursuant to L.R.
  8 7-3 which took place on November 6, 2017.
  9            This Motion is based on the Notice of Motion, the attached Memorandum of
 10 Points and Authorities, Request for Judicial Notice, all other matters of which this
 11 Court may take judicial notice, the pleadings, files, and records in this action, and
 12 on such other argument as may be heard by this Court.
 13 DATED: November 13, 2017                   DAVIS WRIGHT TREMAINE LLP
 14                                            RACHEL F. STROM (Pro Hac Vice
                                               application pending)
 15                                            DIANA PALACIOS
 16
                                               By:          /s/ Diana Palacios
 17                                                           Diana Palacios
 18
                                               Attorneys for Defendants
 19                                            PENSKE MEDIA CORPORATION and
 20                                            HOLLYWOODLIFE.COM, LLC

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  1                      MEMORANDUM OF POINTS AND AUTHORITIES
  2                                      I.   INTRODUCTION
  3            Plaintiff Jeffery R. Werner (“Plaintiff”) has brought this lawsuit for what
  4 amounts to a simple claim for copyright infringement. Plaintiff claims that he
  5 “owns a photograph” of a young girl in Thailand with a rare condition known as
  6 Ambras syndrome (the “Photo”). Plaintiff then claims Defendants Penske Media
  7 Corporation (“Penske”) and Hollywoodlife.com, LLC d/b/a Hollybaby.com
  8 (“Hollywoodlife”) (collectively, “Defendants”) posted that Photo on “their”
  9 websites over six years ago. In an apparent effort to gin up some more money
 10 based on this simple claim, Plaintiff has added an improper Defendant and
 11 unnecessary claims without any factual allegations in support.1
 12            Specifically, the alleged infringement occurred on websites that, at all
 13 relevant times, were owned by Hollywoodlife – hollywoodlife.com and
 14 Hollybaby.com. But, Plaintiff has brought claims against Hollywood’s parent
 15 corporation, Penske, without a single factual allegation of wrongdoing by Penske.
 16 The mere fact that Penske is the parent corporation of Hollywoodlife is insufficient
 17 to make it liable for Hollywoodlife’s alleged wrongdoing.
 18            Further, the claims for contributory and/or vicarious infringement should be
 19 dismissed for two reasons. As a preliminary matter, the Complaint does not specify
 20 any third party infringement that the Defendants contributed to. And, the
 21 Complaint is devoid of factual allegations demonstrating that Defendants induced or
 22 materially contributed to that infringement or had a direct financial interest in that
 23 infringement.
 24            Finally, Plaintiff seeks to hold Defendants liable for a provision of the Digital
 25 Millennium Copyright Act (“DMCA”) that prohibits “intentionally” removing or
 26 altering copyright management information or distributing works while “knowing,
 27
      1
 28       Hollybaby.com is now defunct, and has been for three years.
                                                                            DAVIS WRIGHT TREMAINE LLP
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      DEFENDANTS’ MOTION TO DISMISS                                                     (213) 633-6800
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  1 or, . . . having reasonable grounds to know, that it will induce, enable, facilitate, or
  2 conceal an infringement of any right under this title.” 17 U.S.C. § 1202(b). But the
  3 claim fails under Bell Atlantic Corp. Twombly, 550 U.S. 544 (2007) because
  4 Plaintiff did not allege what specific copyright information Defendants removed, or
  5 how they distributed the Photo while knowing that it would facilitate further
  6 infringement.
  7            At bottom, Defendants ask only that this Court ensure this case is litigated for
  8 what it truly is – a copyright infringement case against Hollywoodlife for a six year
  9 old infringement. This Court should dismiss Penske from this case along with the
 10 second and third claims in their entirety.
 11                                      II.   ALLEGATIONS IN FACTS
 12 A.         The Parties
 13            Plaintiff alleges he is the copyright owner of the Photo, which depicts “a
 14 young girl in Thailand with a rare genetic condition known as Ambras syndrome –
 15 causing her to grow hair on her face.” Compl. ¶ 9.
 16            Hollywoodlife is a Delaware limited liability company that operates the
 17 website hollywoodlife.com and used to operate the now-defunct hollybaby.com. Id.
 18 ¶¶ 6, 10. Penske is a Delaware corporation, and is the parent corporation of
 19 Defendant Hollywoodlife. Id. ¶ 7; Request for Judicial Notice, Exs. A, B.
 20 B.         Alleged Infringement and this Action
 21            Plaintiff claims that over six years ago, well beyond the statute of limitations
 22 for copyright claims, the Photo was published on the websites of hollywoodlife.com
 23 and hollybaby.com in connection with articles about the young girl in Thailand.
 24 Compl. ¶ 10, 11.2
 25
 26   2
     Defendants can only be held liable for any “acts of infringement committed
 27 within three years prior to [a plaintiff’s] lawsuit.” Wolf v. Travolta, 167 F. Supp. 3d
 28 1077, 1099 (C.D. Cal. 2016) (No liability for publication of allegedly infringing
    document in 2010 that “remained on defendant's website” as that “does not give rise
                                                                           DAVIS WRIGHT TREMAINE LLP
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  1            On August 21, 2017, Plaintiff filed this action against Defendants, alleging
  2 three causes of action: (1) copyright infringement, (2) contributory and/or vicarious
  3 copyright infringement, and (3) violations of the DMCA, 17 U.S.C. § 1202. For
  4 this, Plaintiff seeks an injunction ordering Defendants to remove the Photo from
  5 their websites, a constructive trust to be entered over any proceeds realized by
  6 Defendants, statutory damages, additional damages and their attorney’s fees. See
  7 Compl., generally.
  8                                      III.   ARGUMENT
  9            Plaintiff’s Complaint as against Defendant Penske cannot withstand a motion
 10 to dismiss. Similarly, Plaintiff’s tag-along claims for a violation of the DMCA and
 11 for contributory and/or vicarious copyright infringement should be dismissed at the
 12 outset. Under F.R.C.P. 8(a)(2), a complaint must include a “short and plain
 13 statement of the claim,” showing that the pleader is entitled to relief and giving the
 14 defendant “fair notice of what the … claim is and the grounds upon which it rests.”
 15 Twombly, 550 U.S. at 555. This standard “demands more than an unadorned, the-
 16 defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678
 17 (2009). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to
 18 relief’ requires more than labels and conclusions, and a formulaic recitation of the
 19 elements of a cause of action will not do.” Richteck Tech. Corp. v. UPI
 20 Semiconductor Corp., 2011 WL 166198, *2 (N.D. Cal. Jan. 18, 2011) (quoting
 21 Twombly, 550 U.S. at 545).
 22
 23
 24
    to a discrete claim accruing within the three-year [statute of limitations] window”).
 25 Defendants cannot now, six years later, be held responsible for the original posting
 26 of the Photo, which was reasonably discoverable over three years ago. See Nakada
    + Assocs., Inc. v. City of El Monte, 2017 WL 2469977, at *3 (C.D. Cal. June 2,
 27 2017) (no liability for posting of video in 2011 when the complaint was filed in
 28 2016). Thus, the statute of limitations will ultimately bar any damage award for
    Plaintiff’s claim.
                                                                          DAVIS WRIGHT TREMAINE LLP
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  1            A motion to dismiss under F.R.C.P. 12(b)(6) tests the legal sufficiency of the
  2 claims asserted in a complaint; to avoid dismissal, a complaint must contain
  3 sufficient factual allegations that “raise a right to relief above the speculative level.”
  4 Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of a cause of
  5 action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S.
  6 at 678. Indeed, a complaint should be dismissed where, as here, it fails to allege
  7 “enough facts to state a claim for relief that is plausible on its face.” Twombly, 550
  8 U.S. at 570. While a court must accept factual allegations as true, a court does not
  9 “accept as true allegations that are merely conclusory, unwarranted deductions of
 10 fact, or unreasonable inferences.” In re Gilead Scis. Secs. Litig., 536 F.3d 1049,
 11 1055 (9th Cir. 2008). Here, Plaintiff has not alleged any facts to support its claims
 12 against Hollywoodlife’s parent corporation – or facts to support anything but its
 13 simple claim for copyright infringement.
 14 A.         Penske Is Not a Proper Defendant In This Action.
 15            Preliminarily, Penske must be dismissed from this action because the only
 16 thing it allegedly did here is act as the parent corporation to Hollywoodlife. As a
 17 matter of law, that relationship is not a sufficient basis to keep it in this case.
 18            “It is a general principle of corporate law deeply ingrained in our economic
 19 and legal systems that a parent corporation … is not liable for the acts of its
 20 subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61 (1998) (internal quotation
 21 marks omitted). “Only in unusual circumstances will the law permit a parent
 22 corporation to be held either directly or indirectly liable for the acts of its
 23 subsidiary.” Freeney v. Bank of Am. Corp., 2015 WL 4366439, at *15 (C.D. Cal.
 24 July 16, 2015) (quoting Bowoto v. Chevron Texaco Corp., 312 F. Supp. 2d 1229,
 25 1234 (N.D. Cal. 2004)). “In order for a court to pierce the corporate veil and hold a
 26 parent company liable for the actions of its subsidiaries, there must be an injustice
 27 that results from the illusory nature of the corporate separateness.” Lancaster v.
 28 Alphabet Inc., 2016 WL 3648608, at *7 (N.D. Cal. July 8, 2016) (citations omitted).
                                                                          DAVIS WRIGHT TREMAINE LLP
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  1            Lancaster is instructive here. There, the plaintiff alleged a copyright claim
  2 against YouTube, Google, and their parent company Alphabet, who moved to
  3 dismiss as an improper defendant. The court granted the motion, holding that
  4 “Plaintiff does not make any specific allegations against Alphabet, Inc., and
  5 provides no reason for the Court to depart from the ‘deeply ingrained’ principle that
  6 a parent company is not liable for the wrongs of its subsidiaries.” 2016 WL
  7 3648608, at *7. The same reasoning applies here.
  8            Plaintiff makes no specific factual allegation against Penske. Indeed,
  9 Plaintiff has not attributed any of the alleged infringements directly to Penske,
 10 stating only that “Defendants published and hosted posts on their websites,
 11 hollywoodlife.com and hollybaby.com, that incorporated unauthorized copies of the
 12 Subject Photograph.” Compl. ¶ 10 (emphasis added). But these websites are
 13 operated by Hollywoodlife, not Penske. Id. ¶ 6. And Plaintiff asserts no additional
 14 facts that would allow the Court to hold Penske liable for what its subsidiary is
 15 alleged to have done. Plaintiff does not—and could not—allege that Hollywoodlife
 16 is merely the “alter ego” of Penske.3 Nor could Plaintiff allege that the formation of
 17 Penske as a corporate entity separate from Hollywoodlife was in and of itself
 18
 19
      3
        While Plaintiff alleges that “Defendants was [sic] the agent, affiliate, officer,
 20
      director, manager, principal, alter-ego, and/or employee of the remaining
 21   Defendants” (Compl. ¶ 8), these vague, conclusory allegations are insufficient. See
 22   Hokama v. E.F. Hutton & Co., Inc., 566 F. Supp. 636, 647 (C.D. Cal. 1983)
      (rejecting “bland[]” allegations that some defendants “are ‘alter egos' of other
 23   defendants accused of committing primary violations. . . Conclusory allegations of
 24   alter ego status such as those made in the present complaint are not sufficient”);
      Imageline, Inc. v. CafePress.com, Inc., 2011 WL 1322525, at *4 (C.D. Cal. Apr. 6,
 25   2011) (“The only allegations made by Imageline—that each defendant was the
 26   ‘agent, partner, servant, supervisor, employee, successor and/or joint venturer of
      each of the remaining defendants and was at all time ... acting within the course and
 27   scope, and purpose of said agency, employment, business enterprise and joint
 28   venture,’ are nothing more than legal conclusions of the type prohibited by Iqbal
      and Twombly”).
                                                                           DAVIS WRIGHT TREMAINE LLP
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  1 fraudulent or contrary to law. Thus, Penske cannot be held responsible for the
  2 alleged wrongdoing of its subsidiary, and it should be dismissed as a defendant.
  3 B.         The Complaint Fails to State a Claim For Contributory or Vicarious
  4            Copyright Infringement.
  5            To assert a contributory infringement claim, the plaintiff must allege that the
  6 defendant “(1) has knowledge of another’s infringement and (2) either (a)
  7 materially contributes to or (b) induces that infringement.” Perfect 10, Inc. v. Visa
  8 Int’l Serv. Ass’n, 494 F.3d 788, 795 (9th Cir. 2007) (affirming dismissal of
  9 plaintiff’s contributory infringement claim). To state a claim for vicarious
 10 infringement, a plaintiff must allege that Defendants have “(1) the right and ability
 11 to supervise the infringing conduct and (2) a direct financial interest in the
 12 infringing activity.” Id. at 802. “Without factual allegations describing in greater
 13 detail the instances of [defendant] inducing, causing, facilitating, or materially
 14 contributing to third-party infringement, ‘the [C]omplaint does not permit the Court
 15 to infer more than the mere possibility of [defendant’s] misconduct.’” Muench
 16 Photography, Inc. v. Pearson Educ., Inc., No. 13-CV-03937-WHO, 2013 WL
 17 6172953, at *6 (N.D. Cal. Nov. 25, 2013) (dismissing plaintiff’s contributory
 18 infringement claim).
 19            In addition, “Plaintiff must first establish direct infringement by third parties
 20 because secondary liability cannot exist in the absence of direct infringement by a
 21 third party.” Tarantino v. Gawker Media, LLC, 2014 WL 2434647, at *3 (C.D. Cal.
 22 Apr. 22, 2014) (citations omitted). See also Perfect 10, Inc. v. Amazon.com, Inc.,
 23 508 F.3d 1146, 1173 n.13 (9th Cir. 2007) (“‘[s]econdary liability for copyright
 24 infringement (such as contributory liability) does not exist in the absence of direct
 25 infringement by a third party.’”)
 26            Here, Plaintiff’s contributory infringement claim fails for the fundamental
 27 reason that he has not even alleged any direct infringement by a third party. The
 28 only infringement alleged in the Complaint is the use of the Photo on the websites
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  1 Hollybaby.com and Hollywoodlife.com. Compl. ¶¶ 10-11. But Plaintiff is seeking
  2 to hold Defendants liable for direct copyright infringement for that precise conduct.
  3 Id. ¶¶ 14-20. Thus, because Plaintiff does not allege what third party infringement
  4 Defendants contributed to, the second claim must be dismissed in its entirety.
  5            Moreover, Plaintiff’s claim for contributory and vicarious infringement fails
  6 because their allegations do nothing more than parrot the bare elements of that
  7 claim. Specifically, Plaintiff alleges that:
  8
               23. Plaintiff is informed and believes and thereon alleges that
  9            Defendants knowingly induced, participated in, aided and abetted in
 10            and profited from the illegal reproduction and distribution of the
               Subject Photograph as alleged hereinabove.
 11
 12            24. Plaintiff is informed and believes and thereon alleges that
               Defendants, and each of them, are vicariously liable for the
 13            infringement alleged herein because they had the right and ability to
 14            supervise the infringing conduct and because they had a direct
               financial interest in the infringing conduct.
 15
      Compl. ¶ 23-24. Plaintiff’s allegations in support of this contributory/vicarious
 16
      infringement claim consists of nothing more than the exact type of legal conclusions
 17
      that courts find to be impermissible. See, e.g. L.A. Printex Indus., Inc. v. T.J. Maxx
 18
      of Cal., LLC, 2010 WL 11519577, at *4 (C.D. Cal. Jan. 11, 2010) (dismissing
 19
      contributory and vicarious liability claims for copyright infringement because the
 20
      allegations were “‘formulaic recitation of the elements of a cause of action” that the
 21
      Supreme Court rejected in Twombly. 550 U.S. at 555.”).
 22
               Finally, even the threadbare allegations Plaintiff does make are only made
 23
      “upon information and belief,” Compl. ¶¶ 18-19, 33-34, which are insufficient to
 24
      survive a motion to dismiss as a matter of law. See Tarantino, 2014 WL 2434647,
 25
      at *5. See also Muench Photography, 2013 WL 6172953, at *6 (plaintiff cannot
 26
      plead “on information and belief” without providing fact to support its allegations)
 27
      (dismissing contributory infringement claim); see also Solis v. City of Fresno, No.
 28
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  1 11-CV-00053, 2012 WL 868681, at *8 (E.D. Cal. Mar. 13, 2012) (“In the post
  2 Twombly and Iqbal era, pleading on information and belief, without more, is
  3 insufficient to survive a motion to dismiss for failure to state a claim.”).
  4            In fact, this case is much like Tarantino v. Gawker Media, LLC. There, the
  5 court dismissed a contributory infringement claim, in part, because “nowhere …. in
  6 the Complaint does Plaintiff allege a single act of direct infringement committed by
  7 any member of the general public that would support Plaintiff’s claim for
  8 contributory infringement.” Id. 2014 WL 2434647, at *4. The Tarantino complaint
  9 specifically failed “to allege the identity of a single third-party infringer, the date,
 10 the time, or the details of a single instance of third-party infringement.” Id.
 11 Similarly here, Plaintiff’s complaint does not allege any specific third party
 12 infringement – not one date or one name of any third party infringer. And, “more
 13 importantly,” as the Tarantino court held, Plaintiff here has not alleged “how
 14 Defendant allegedly caused, induced, or materially contributed to the infringement
 15 by those third parties.” Id.
 16            Thus, just as in Tarantino, Plaintiff’s basic recitation of the elements based
 17 on “information and belief” is insufficient to allege a claim for contributory or
 18 vicarious infringement. The claim should be dismissed in its entirety.
 19 C.         Plaintiff Has Failed to Adequately Allege a DMCA Claim.
 20            Plaintiff has also failed to adequately plead its third cause of action – a
 21 violation of the DMCA’s prohibition on altering or removing copyright
 22 management information. Section 1202(b) of the DMCA “prohibits (1)
 23 ‘intentionally’ removing or altering copyright management information, (2)
 24 distributing or importing copyright information ‘knowing’ it has been improperly
 25 removed or altered, or (3) distributing or importing copies of works ‘knowing’
 26 copyright information has been improperly removed or altered and ‘knowing’ it will
 27 ‘induce, enable, facilitation or conceal an infringement.’” Masck v. Sports
 28 Illustrated, No. 13-10226, 2014 WL 12658971, at *4 (E.D. Mich. Mar. 10, 2014).
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  1 But, Plaintiff’s allegations on this claim also fall far short of meeting the Twombly
  2 standard.
  3            As a preliminary matter, Plaintiff does not even allege which prong of
  4 Section 1202(b) Defendants allegedly violated. It is unclear if Plaintiff claims
  5 Defendants themselves removed copyright management information, as required by
  6 1202(b)(1) or if they distributed the Photo “knowing” that copyright information
  7 was improperly removed as set forth in 1202(b)(3).
  8            More than that, Plaintiff has failed to allege any facts to show that Defendants
  9 intentionally or knowingly did anything. The Supreme Court has specifically
 10 instructed that the plausibility requirement set forth in Twombly includes pleading
 11 of “malice, intent, knowledge, or other conditions of a person’s mind.” Iqbal, 556
 12 U.S. at 686-87 (“Rule 9 merely excuses a party from pleading [malice] under an
 13 elevated pleading standard. It does not give him license to evade the less rigid –
 14 though still operative – strictures of Rule 8”); see Huber v. City of Beverly Hills,
 15 Cal., 2013 WL 1829763, at *12 (C.D. Cal. Mar. 19, 2013) (“Plaintiff’s bare
 16 allegation that Coulter ‘intentionally’ omitted relevant information from the official
 17 report merely repeats an element required to state a malicious prosecution claim and
 18 fails to satisfy Iqbal”); Tanedo v. E. Baton Rouge Parish Sch. Bd., 2012 WL
 19 5447959, at *9 (C.D. Cal. Oct. 4, 2012) (“Defendant has not pleaded any facts to
 20 make plausible the claim that, at the time Plaintiffs entered into the recruiting
 21 contracts, they had no intention of honoring them . . . This is insufficient under Rule
 22 8”); DeLeon v. Wells Fargo Bank, N.A., 2011 WL 311376, at *8 (N.D. Cal. Jan. 28,
 23 2011) (“Plaintiffs must still plead facts establishing scienter with the plausibility
 24 required under Rule 8(a)”); Gilliland v. Chase Home Fin., LLC, 2014 WL 325318,
 25 at *6 (E.D. Cal. Jan 29, 2014) (dismissing intentional misrepresentation claim based
 26 on conclusory allegations “because Plaintiff provides no facts from which the Court
 27 can infer intent or knowledge”). Thus, as the Ninth Circuit has made clear: “Mere
 28
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  1 conclusions of intent are insufficient.” Millman v. Inglish, 461 Fed. App’x 627, 628
  2 (9th Cir. 2011).
  3            Courts have applied these principles to dismiss DMCA claims where, as here,
  4 plaintiffs only made conclusory allegations in support of their claims. See
  5 Geophysical Serv., Inc. v. TGS-NOPEC Geophysical Co., 850 F.3d 785, 800 (5th
  6 Cir. 2017) (affirming district court dismissal of plaintiff’s claim for removing
  7 copyright management information, which was dismissed “because its allegations in
  8 support of those claims were speculative and conclusory”); Morgan v. Associated
  9 Press, 2016 WL 6953433, at *3 (C.D. Cal. Mar. 16, 2016) (“because a formulaic
 10 recitation of the elements of a cause of action, including allegations regarding a
 11 defendant's state of mind, are not sufficient to satisfy Rule 8, the Court grants the
 12 Perseus Defendants' motion to dismiss the [Section 1202(b)] claim”); Masck, 2014
 13 WL 12658971, at *4 (amended complaint futile because it made “only a
 14 conclusory allegation with no factual basis for this Court to plausibly infer actual
 15 knowledge under the DMCA”).
 16            Here, in direct violation of Iqbal and Twombly, Plaintiff pleads he is
 17 “informed and believes” the Defendants “violated 17 U.S.C. §1202(b) by
 18 intentionally removing and/or altering the copyright management information, in
 19 the form of metadata or visible text attribution, . . . having reasonable grounds to
 20 know, that the conduct would induce, enable, facilitate, or conceal an infringement
 21 of any right under this title.”4 Compl. ¶ 29. This allegation is nothing more than “a
 22 formulaic recitation of the elements of [the] cause of action,” which “will not do.”
 23 Twombly, 550 U.S. at 555. More than that, Plaintiff even fails to allege facts to
 24 show that the Photo contained any copyright management information – he only
 25 vaguely alleges that “metadata or visible text attribution” was “removed and/or
 26 altered” without identifying the copyright information. Compl. ¶ 29.
 27
      4
      For the reasons stated above, Plaintiff’s allegations are also insufficient because
 28 they are based on “information and belief.” See Section III.B.
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  1            Simply put, there is nothing in the Complaint from which this Court could
  2 even infer that the Defendants acted intentionally and knowingly in any manner in
  3 altering any copyright management information. Because Plaintiff makes only
  4 conclusory allegations, with no factual basis to suggest a plausible claim, the Court
  5 should dismiss Plaintiff’s DMCA claim.
  6                                      IV.   CONCLUSION
  7            For all the foregoing reasons, Defendants, therefore, respectfully request that
  8 this Court grant its motion to dismiss Penske as a defendant and dismiss the second
  9 and third claims from the Complaint in their entirety.
 10 DATED: November 13, 2017                   DAVIS WRIGHT TREMAINE LLP
 11                                            RACHEL F. STROM (Pro Hac Vice
                                               application pending)
 12                                            DIANA PALACIOS
 13
                                               By:           /s/ Diana Palacios
 14                                                            Diana Palacios
 15
                                               Attorneys for Defendants
 16                                            PENSKE MEDIA CORPORATION and
 17                                            HOLLYWOODLIFE.COM, LLC

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